     Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 1 of 6



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

AMY STORY, CHRISTOPHER M. SOTIR, and
JENNY LEA RANDALL, individually, and on behalf
of all others similarly situated,

                                Plaintiffs,
       vs.                                              1:18-cv-764
                                                        (MAD/DJS)
SEFCU and DOES 1-100,

                              Defendants.
____________________________________________

APPEARANCES:                                  OF COUNSEL:

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     Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 2 of 6



Mae A. D'Agostino, U.S. District Judge:

                                             ORDER

       The Court, having considered Plaintiffs' Unopposed Motion for Preliminary Approval of

Class Settlement and Certification of Settlement Class and all of its supporting documents

(collectively, the "Motion"), and the Settlement Agreement and Release executed by Defendant

SEFCU on July 21, 2020 and by Plaintiffs Amy Story, Christopher M. Sotir, and Jenny Lea

Randall on July 16, 17, and 22, 2020, respectively, (the "Settlement Agreement"), rules as

follows:

       1.      Defined terms in this Order shall have the same meaning given such terms in the

Settlement Agreement.

       2.      This Court finds on a preliminary basis that the class as defined in the Settlement

Agreement ("Settlement Class") meets all of the requirements for certification of a settlement

class under the Federal Rules of Civil Procedure and applicable case law. Accordingly, the Court

provisionally certifies the Settlement Class, which is composed of the following four classes:

               The "Sufficient Funds Class," which is defined as those members of
               Defendant who paid an overdraft fee from June 28, 2012 to April
               19, 2019 when there was enough money in the member's current
               balance to cover the transaction that resulted in the fee, and such
               fees were not refunded by Defendant. (Settlement Agreement 1(w)
               and (x).)

               The "No Benefit Opt-In Class," which is defined as those members
               of Defendant who from February 5, 2016, through December 28,
               2018, paid an overdraft fee on a non-recurring debit card transaction
               that was not refunded. (Settlement Agreement 1(r).)

               The "Multiple NSF Fees on a Single Item Class", which is defined
               as those members of Defendant who from July 23, 2016 through
               March 31, 2020 were assessed and paid more than one
               non-sufficient funds or returned item for an ACH or check


                                                 2
     Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 3 of 6



               transaction that was re-submitted after being declined and was not
               refunded by Defendant. (Settlement Agreement 1(o) and (p).)

               The "Sweep From Savings to Checking Account Class," which is
               defined as any member of Defendant who paid an overdraft fee
               assessed from July 23, 2016 through March 31, 2020, which was
               not refunded for transactions where sufficient funds were
               transferred the day after the fee was assessed from a member's
               savings account into the checking account in an amount that would
               have been sufficient to avoid the overdraft had the transfer been
               made the prior day. (Settlement Agreement 1(y) and (z).)

       3.      The Court provisionally appoints Amy Story, Christopher M. Sotir, and Jenny Lea

Randall as the Class Representatives of the Settlement Class.

       4.      The Court appoints KCC LLC as the Claims Administrator under the terms of the

Settlement Agreement.

       5.      For purposes of the Settlement Agreement, the Court further provisionally finds

that counsel for the Settlement Class, Richard McCune of McCune Wright Arevalo LLP, and

Taras Kick of The Kick Law Firm, APC, are qualified, experienced, and skilled attorneys capable

of adequately representing the Settlement Class, and they are provisionally approved as Class

Counsel.

       6.      This certification of a preliminary Settlement Class under this Order is for

settlement purposes only and shall not constitute, nor be construed as, an admission on the part of

the Defendant in this Action that any other proposed or certified class action is appropriate for

class treatment pursuant to the Federal Rules of Civil Procedure or any similar statute, rule or

common law. Entry of this Order is without prejudice to the rights of Defendant to oppose class

certification in this action should the settlement not be approved or not be implemented for any

reason or to terminate the Settlement Agreement as provided in the Settlement Agreement.



                                                  3
     Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 4 of 6



       7.      The Court provisionally, and solely for purposes of this settlement, finds that the

members of the Settlement Class are so numerous that joinder of all members would be

impracticable, that the litigation and proposed settlement raise issues of law and fact common to

the claims of the Class Members and these common issues predominate over any issues affecting

only individual members of the Settlement Class, that the claims of Amy Story, Christopher M.

Sotir, and Jenny Lea Randall (the "Named Plaintiffs") are typical of the claims of the Settlement

Class, that in prosecuting this Action and negotiating and entering into the Settlement Agreement,

the Named Plaintiffs and their counsel have fairly and adequately protected the interests of the

Settlement Class and will adequately represent the Settlement Class in connection with the

settlement, and that a class action is superior to other methods available for adjudicating the

controversy.

       8.      The Court has reviewed the Settlement Agreement, the attached Notice of Pending

Class Action and Proposed Settlement ("Notice") (Exhibit 1 to the Settlement Agreement), and

the attached Legal Notice of Class Action Settlement (Exhibit 2 to the Settlement Agreement),

and finds that the settlement memorialized therein falls within the range of reasonableness and

potential for final approval, thereby meeting the requirements for preliminary approval, and that

the Notice should go out to the Settlement Class in the manner described in the Settlement

Agreement. The settlement appears to be reasonable in light of the risk inherent in continuing

with litigation. The Court also notes that the settlement is a non-reversionary one where no

money will be returned to the Defendant. The Court also notes that the settlement was arrived at

after an arm's length negotiation involving experienced counsel.

       9.      The Court finds that the methods of giving notice prescribed in the Settlement

Agreement meet the requirements of the Federal Rules of Civil Procedure and due process, are the

                                                  4
      Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 5 of 6



best notice practicable under the circumstances, shall constitute due and sufficient notice to all

persons entitled thereto, and comply with the requirements of the Constitution of the United

States, and all other applicable laws.

       10.     For the purposes stated and defined in the Settlement Agreement, the Court hereby

sets the following dates and deadlines:

                      Event                                             Deadline
 Claims Administrator Sends Notice and                Within Thirty Days After the Date of this
 Website Goes Live                                    Order
 Last Day to Opt Out                                  Thirty Days After Claims Administrator Sends
                                                      Notice
 Motion for Final Approval and Attorneys'             Thirty-Five Days After Claims Administrator
 Fees Filed with Court                                Sends Notice
 Last Day to Object                                   Fifteen Days After Motion for Final Approval
                                                      and Attorneys' Fees is Filed with the Court
 Last Day to File Responses to Objections and         Ten Days After Last Day to Object
 Class Counsel's and Defendants' Replies in
 Support of Motion for Final Approval and
 Attorneys' Fees
 Final Approval Hearing                               Twenty Days After Last Day to Object
 Filing by Claims Administrator of Final              Thirty Days After Time to Cash Checks has
 Report                                               Expired

       11.     The Court hereby approves and adopts the procedures, deadlines, and manner

governing all requests to be excluded from the Class, or for objecting to the proposed settlement,

as provided for in the Settlement Agreement.

       12.     All costs incurred in connection with providing notice and settlement

administration services to the Class Members shall be paid from the Settlement Fund.

       13.     If the settlement is not approved or consummated for any reason whatsoever, the

Settlement Agreement and all proceedings in connection therewith shall terminate without

                                                  5
      Case 1:18-cv-00764-MAD-DJS Document 73 Filed 11/02/20 Page 6 of 6



prejudice to the status quo ante and rights of the parties to the action as they existed prior to the

date of the execution of the Settlement Agreement, except as otherwise provided in the Settlement

Agreement.

       Good cause appearing therefore, IT IS SO ORDERED.

Dated: November 2, 2020
       Albany, New York




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